                    Case 21-01805            Doc 1       Filed 02/10/21 Entered 02/10/21 17:36:51                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Mercy Hospital and Medical Center

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Mercy Hospital & Medical Center
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  2525 South Michigan Avenue
                                  Chicago, IL 60616
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Cook                                                           Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.mercy-chicago.org


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Mercy Hospital and Medical Center                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 6211

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
                                           Chapter 11. Check all that apply:
     A debtor who is a “small
     business debtor” must check                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     the first sub-box. A debtor as                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     defined in § 1182(1) who                                    $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     elects to proceed under                                     operations, cash-flow statement, and federal income tax return or if any of these documents do not
     subchapter V of chapter 11                                  exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     (whether or not the debtor is a                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     “small business debtor”) must                               debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     check the second sub-box.                                   proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     Mercy Health System of Chicago                                  Relationship

                                                            Northern District of
                                                 District   Illinois                      When       2/10/21                Case number, if known




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Debtor   Mercy Hospital and Medical Center                                                         Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                              1,000-5,000                                25,001-50,000
    creditors                       50-99                                             5001-10,000                                50,001-100,000
                                    100-199                                           10,001-25,000                              More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities           $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion




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Debtor    Mercy Hospital and Medical Center                                                        Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      02/10/2021
                                                  MM / DD / YYYY


                             X   /s/ Carol L. Garikes Schneider                                           Carol L. Garikes Schneider
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President and Chief Executive Officer




18. Signature of attorney    X   /s/ Edward Green and /s/ Matthew J. Stockl                                Date 02/10/2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Edward Green (6225069) / Matthew J. Stockl (6304087)
                                 Printed name

                                 Foley & Lardner LLP
                                 Firm name

                                 321 N. Clark Street
                                 Suite 3000
                                 Chicago, IL 60654
                                 Number, Street, City, State & ZIP Code

                                                                                                    egreen@foley.com
                                 Contact phone     312-832-4500                  Email address      mstockl@foley.com

                                  6225069 IL / 6304087 IL
                                 Bar number and State




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                                  UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF ILLINOIS
                                          EASTERN DIVISION

        In re:                             )                     Chapter 11
                                           )
        MERCY HOSPITAL AND MEDICAL CENTER, )                     Case No.
                                           )
                 Debtor-in-Possession.     )                     Honorable
                                           )

                                                  Rider 1
                   Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor


                On the date hereof, each of the entities listed below (collectively, the "Debtors") filed a
        petition in the United States Bankruptcy Court for the Northern District of Illinois for relief
        under chapter 11 of the title 11 of the United States Code. The Debtors have moved for joint
        administration of these cases under the case number assigned to the chapter 11 case of Mercy
        Hospital and Medical Center.

                     1. Mercy Hospital and Medical Center

                     2. Mercy Health System of Chicago




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                        TRINITY HEALTH CORPORATION

                              BOARD OF DIRECTORS

TRINITY HEALTH CORPORATION, LIVONIA, MI – Mercy Health System of
Chicago and Mercy Hospital and Medical Center

WHEREAS:        Trinity Health Corporation, an Indiana nonprofit corporation (“Trinity
                Health”) is the sole member of Mercy Health System of Chicago, an
                Illinois not for profit corporation (“Mercy Health System”), which is a
                Health Ministry of Trinity Health;

WHEREAS:        Mercy Health System is the sole member of Mercy Hospital and Medical
                Center, an Illinois not for profit corporation (“Mercy”);

WHEREAS:        The Boards of Directors of Mercy Health System and Mercy and this
                Board of Directors previously approved a clinical transformation plan for
                Mercy that included the discontinuation of inpatient acute care services at
                Mercy and the wind-down of Mercy as a licensed full-service acute care
                hospital due to declining utilization rates resulting in excess inpatient bed
                capacity, increasing competition from local health systems, movement of
                care to outpatient settings and the shifting healthcare needs of the
                communities served by Mercy, resulting in significant and unsustainable
                financial losses;

WHEREAS:        This clinical transformation plan also included the approval of this Board
                of Directors to create a new Mission Health Ministry of Trinity Health
                (“Mercy Care Center”) to provide advanced diagnostic care, urgent care
                and care coordination services as recommended by the Boards of Directors
                of Mercy Health System and Mercy;

WHEREAS:        Mercy has attempted to effectuate its contemplated clinical transformation
                plan but has been unable to do so as originally envisioned and
                management does not anticipate being able to do so in the future;

WHEREAS:        The quality of care at Mercy is an increasing concern as physicians and
                other colleagues have left Mercy and operating losses have accelerated to
                $7 million per month; and

WHEREAS:        Management of Trinity Health has determined, and is recommending to
                this Board of Directors, that it is in the best interest of Trinity Health,
                Mercy Health System, Mercy, its employees, patients, creditors and the
                public to have Mercy and Mercy Health System to file voluntary petitions
                for relief (the “Chapter 11 Cases”) under Chapter 11 of Title 11 of the
                United States Code (the “Bankruptcy Code”).
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RESOLVED:       That in the judgment of this Board of Directors, it is desirable and in the
                best interests of Trinity Health, Mercy Health System and Mercy, and
                their respective creditors, employees, patients and other interested parties
                that a petition be filed by either or both of Mercy Health System and
                Mercy, as management deems necessary, seeking relief under Chapter 11
                of the Bankruptcy Code;

FURTHER,
RESOLVED:       That each of the Chief Executive Officer, Chief Operating Officer, Chief
                Financial Officer and General Counsel of Trinity Health and those officers
                of Mercy Health System and Mercy as shall be authorized by the Chief
                Executive Officer of Trinity Health (each an “Authorized Officer”, and,
                collectively, the "Authorized Officers") is hereby authorized, empowered
                and directed, in the name and on behalf of Mercy Health System and
                Mercy, to execute and verify petitions under Chapter 11 of the Bankruptcy
                Code and to cause the same to be filed in the United States Bankruptcy
                Court for the Northern District of Illinois (the "Bankruptcy Court") at such
                time as said Authorized Officers executing the same shall determine it to
                be in the best interests of Mercy Health System and Mercy;

FURTHER,
RESOLVED:       That the Authorized Officers be, and hereby are authorized, empowered
                and directed to execute and file all necessary documents, including,
                without limitation, to execute and file all petitions, schedules, motions,
                lists, applications, pleadings and other papers and, in that connection, to
                employ and retain all assistance by legal counsel, accountants, financial
                advisors, and other professionals and advisors that the Authorized Officers
                deem necessary, proper or desirable, and to take and perform any and all
                further acts and deeds deemed necessary, proper or desirable in connection
                with the successful prosecution of the Chapter 11 Cases;

FURTHER
RESOLVED:       That if the Chapter 11 cases are commenced, the Authorized Officers be,
                and hereby are, authorized and empowered on behalf of, and in the name
                of, Mercy Health System and/or Mercy to take such actions as they deem
                necessary, appropriate, advisable or desirable to pursue and maximize the
                benefits of the restructuring in Chapter 11, including without limitation: (i)
                making arrangements for post-petition financing and/or use of cash
                collateral by Mercy Health System and/or Mercy; (ii) pursuing and
                consummating any sale or sales of Mercy Health System’s and/or Mercy’s
                assets they deem necessary or appropriate; and (iii) developing,
                negotiating, confirming and performing under, a bankruptcy plan of
                reorganization or liquidation, and to negotiate, execute and deliver on
                behalf of Mercy Health System and/or Mercy any and all agreements,
                instruments and related documents that, in the judgment and discretion of
                the Authorized Officers, are necessary, appropriate, advisable or desirable
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                 for consummating such financing or use of cash collateral, for pursuing
                 and consummating such sale or sales of Mercy Health System’s and/or
                 Mercy’s assets or for such development, negotiation and confirmation of,
                 and performance under, such a bankruptcy plan of reorganization or
                 liquidation, including without limitation executing credit agreements, asset
                 purchase agreements, plans and related documents and granting any
                 guarantees, pledges, mortgages and other security interests;

FURTHER,
REVOLVED:        That the Authorized Officers be, and hereby are authorized, empowered
                 and directed to execute and file all necessary documents, including,
                 without limitation, to execute and file all petitions, schedules, motions,
                 lists, applications, pleadings and other papers and, in that connection, to
                 employ and retain all assistance by legal counsel, accountants, financial
                 advisors, and other professionals and advisors that the Authorized Officers
                 deem necessary, proper or desirable, and to take and perform any and all
                 further acts and deeds deemed necessary, proper or desirable in connection
                 with the successful prosecution of the Chapter 11 Cases; and

FURTHER,
RESOLVED:        That any and all past actions heretofore taken by any member of Mercy
                 Health System’s, and Mercy’s, Boards of Directors or the Authorized
                 Officers in the name and on behalf of Mercy Health System or Mercy, in
                 furtherance of any or all of the proceeding resolutions be, and the same
                 hereby are, ratified , confirmed and approved.




                                   David Southwell
                                   Chair




                                   _________________________________________
                                   Linda S. Ross, Esq.
                                   Secretary

Dated: February 5, 2021

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                                      UNITED STATES BANKRUPTCY COURT
                                       NORTHERN DISTRICT OF ILLINOIS
                                              EASTERN DIVISION


            In re:                             )                           Chapter 11
                                               )
            MERCY HOSPITAL AND MEDICAL CENTER, )                           Case No.
                                               )
                     Debtor-in-Possession.     )                           Honorable
                                               )


                                     LIST OF EQUITY SECURITY HOLDERS1

        Mercy Hospital and Medical Center is an Illinois not-for-profit corporation. The sole member of
        Mercy Hospital and Medical Center is Mercy Health System of Chicago, an Illinois not-for-profit
        corporation. The sole member of Mercy Health System of Chicago is Trinity Health Corporation,
        an Indiana nonprofit corporation. As a consequence, there are no shareholders or equity holders
        in the for-profit corporate sense.




        1
         This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal Rules of
        Bankruptcy Procedure. All equity positions listed are as of the date of commencement of the chapter 11 case.

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                                     UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF ILLINOIS
                                             EASTERN DIVISION

        In re:                             )                      Chapter 11
                                           )
        MERCY HOSPITAL AND MEDICAL CENTER, )                      Case No.
                                           )
                 Debtor-in-Possession.     )                      Honorable
                                           )

                                   CORPORATE OWNERSHIP STATEMENT

                Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
        the following are corporations, other than a government unit, that directly or indirectly own 10%
        or more of any class of the debtor’s equity interest:

                   Mercy Hospital and Medical Center is an Illinois not-for-profit corporation. The
                   sole member of Mercy Hospital and Medical Center is Mercy Health System of
                   Chicago, an Illinois not-for-profit corporation. The sole member of Mercy
                   Health System of Chicago is Trinity Health Corporation, an Indiana nonprofit
                   corporation. As a consequence, there are no shareholders or equity holders in the
                   for-profit corporate sense.




4833-5971-0938.1
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       Fill in this information to Identify the case:

    Debtor Name: Mercy Hospital and Medical Center
                                                                                                                                               Check if this is an
    United States Bankruptcy Court for the:             District of Northern District of Illinois
                                                                                                                                               amended filing
    Case Number (If known):




  Official Form 204
  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
  Unsecured Claims and Are Not Insiders                                                                                                                          12/15
  A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
  disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
  secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
  largest unsecured claims.


   Name of creditor and complete mailing        Name, telephone number,         Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code                  and email address of            (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                                creditor contact                debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                                professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                                services, and         or disputed     setoff to calculate unsecured claim.
                                                                                government
                                                                                contracts)
                                                                                                                      Total claim, if       Deduction          Unsecured claim
                                                                                                                      partially secured     for value of
                                                                                                                                            collateral or
                                                                                                                                            setoff

   1       BIOFIRE DIAGNOSTICS, LLC             CONTACT: KRISTI HOGAN,   TRADE VENDOR                                                                                  $129,844.80
           515 S COLOROW DR                     CONTROLLER
           SALT LAKE CITY, UT 84108-1248        PHONE: 801-736-6354
                                                FAX: 801-588-0507
                                                KRISTI.HOGAN@BIOFIREDX.C
                                                OM; INFO@BIOFIREDX.COM

   2       GENERAL MECHANICAL SERVICES          CONTACT: IAN PHILPOT,            TRADE VENDOR                                                                          $108,600.72
           780 AEC DRIVE                        MEDIA CONTACT
           WOOD DALE, IL 60191                  PHONE: 847-695-1177
                                                FAX: 630595-8121
                                                IPHILPOT@REEDYINDUSTRIE
                                                S.COM
   3       UNITED SECURITY SERVICES INC         CONTACT: RICHARD SIMON,          TRADE VENDOR                                                                           $65,371.25
           1550 SOUTH INDIANA AVENUE            PRESIDENT & CEO
           CHICAGO, IL 60605                    PHONE: 312-922-8558
                                                RSIMON@UNITEDHQ.COM;
                                                INFO@UNITEDHQ.COM
   4       OLYMPUS FINANCIAL SERVICES           CONTACT: YASUO TAKEUCHI, TRADE VENDOR                                                                                   $45,541.50
           3500 CORPORATE PARKWAY               PRESIDENT
           PO BOX 610                           PHONE: 484-896-5543
           CENTER VALLEY, PA 18034-0610         COMPLIANCE@OLYMPUS.CO
                                                M
   5       ANGELICA - CHICAGO                   CONTACT: ROBERT SAAL,  TRADE VENDOR                                                                                     $41,650.42
           1901 S. MEYERS RD                    CEO
           OAKBROOK TERRACE, IL 60181           PHONE: 312-666-8495
                                                FAX: 678-823-4165
                                                CUSTOMERCARE@ANGELICA.
                                                COM;
                                                MARKETING@ANGELICA.CO
                                                M



Official Form 204                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                Page 1
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  Debtor: Mercy Hospital and Medical Center Document     Page 14 of 17Number (if known):
                                                                 Case
   Name of creditor and complete mailing   Name, telephone number,    Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact           debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                      professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                      services, and         or disputed     setoff to calculate unsecured claim.
                                                                      government
                                                                      contracts)
                                                                                                            Total claim, if       Deduction          Unsecured claim
                                                                                                            partially secured     for value of
                                                                                                                                  collateral or
                                                                                                                                  setoff

   6    ANN & ROBERT H. LURIE              CONTACT: TOM SHANLEY,   TRADE VENDOR                                                                               $39,996.00
        CHILDRENS HOSPITAL OF CHICAGO      CEO
        PEDIATRIC FACULTY FOUNDATION       PHONE: 312-227-7413
        225 E. CHICAGO AVE                 CPELLDOY@LURIECHILDRENS
        CHICAGO, IL 60611-2605             .ORG
   7    AMERICAN RED CROSS                 CONTACT: LAURA DISCIULLO   TRADE VENDOR                                                                            $35,646.99
        OFFICE OF THE GENERAL COUNSEL      PHONE: 202-303-5585
        431 18TH ST, NW                    LORI.POLACHECK@REDCROS
        WASHINGTON, DC 20006               S.ORG

   8    IPC HEALTHCARE INC.                CONTACT: ATTN: PRESIDENT TRADE VENDOR                                                                              $33,333.32
        265 BROOKVIEW CENTRE WAY           PHONE: 800-342-2898
        STE 400                            PATIENTACCOUNTSDEPT@IP
        KNOXVILLE, TN 37919                CM.COM;
                                           MEDIA@TEAMHEALTH.COM;

                                           BUSINESS_DEVELOPMENT@T
                                           EAMHEALTH.COM
   9    C J ERICKSON PLUMBING CO           CONTACT: MATT ERICKSON,    TRADE VENDOR                                                                            $29,881.25
        4141 W 124TH PLACE                 CEO
        ALSIP, IL 60803-1878               PHONE: 708-371-371
                                           FAX: 708-371-3885
                                           ONLINE@CJERICKSON.COM
   10   BOSTON SCIENTIFIC CORP             CONTACT: MICHAEL        TRADE VENDOR                                                                               $29,339.87
        300 BOSTON SCIENTIFIC WAY          MAHONEY, CEO
        MARLBOROUGH, MA 01752              PHONE: 800-876-9960
                                           STEVENDSASSLLC@GMAIL.C
                                           OM;
                                           ROBERT.PERKINS@BSCI.COM

   11   UNITED AUDIT SYSTEMS INC           CONTACT: TY HARE,          TRADE VENDOR                                                                            $26,643.75
        1924 DANA AVENUE                   PRESIDENT & CEO
        CINCINNATI, OH 45207               PHONE: 800-526-0594
                                           GENERALINFO@UASISOLUTI
                                           ONS.COM
   12   EDWARDS ENGINEERING INC            CONTACT: ATTN: DYAN        TRADE VENDOR                                                                            $22,936.00
        1000 TOUCHY AVENUE                 CAMODECA, CFO
        ELK GROVE VILLAGE, IL 60007-4922   FAX: 908-231-9696
   13   MED ONE CAPITAL FUNDING LLC        CONTACT: LARRY R STEVENS, TRADE VENDOR                                                                             $22,227.47
        10712 SOUTH 1300 EAST              PRESIDENT/CEO
        SANDY, UT 84094                    PHONE: 800-248-5882
                                           FAX: 800-468-5528
                                           INFO@MEDONEGROUP.COM

   14   STACY L. ALEXANDER                 PHONE: 603-315-3390        TRADE VENDOR                                                                            $20,079.90
        13 PARK STREET
        WHITEFIELD, NH 03598
   15   C R BARD INC                       CONTACT: TIM RING, CEO  TRADE VENDOR                                                                               $17,903.53
        730 CENTRAL AVE                    PHONE: 9082778000
        MURRAY HILL, NJ 07974              MEDICAL.SERVICES@CRBARD
                                           .COM
   16   LUBAWAY, MASTEN & CO, LTD.         CONTACT: DEBORAH A         TRADE VENDOR                                                                            $17,366.25
        376 BEACH FARM CIRCLE              SIERADZKI, PARTNER
        770                                PHONE: 248-347-1416
        HIGHLAND, MI 48357



Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                         Page 2
                    Case 21-01805            Doc 1
                                           Filed 02/10/21 Entered 02/10/21 17:36:51 Desc Main
  Debtor: Mercy Hospital and Medical Center Document     Page 15 of 17Number (if known):
                                                                 Case
   Name of creditor and complete mailing   Name, telephone number,   Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                     professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                     services, and         or disputed     setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                           Total claim, if       Deduction          Unsecured claim
                                                                                                           partially secured     for value of
                                                                                                                                 collateral or
                                                                                                                                 setoff

   17   BECKMAN COULTER INC                CONTACT: DIANNA         TRADE VENDOR                                                                              $17,071.67
        250 S KRAEMER BLVD, B1 NE 02       OLIVARES, AR LEGAL DESK
        BREA, CA 92821                     PHONE: 312-583-1020
                                           FAX: 800232-3828
                                           DOLIVARES@BECKMAN.COM

   18   CARDINAL HEALTH MEDICAL PROD       CONTACT: ERIN GAPINSKI,   TRADE VENDOR                                                                            $15,631.64
        7000 CARDINAL PLACE                SENIOR COUNSEL
        DUBLIN, OH 43017                   PHONE: 877-254-2738
                                           ERIN.GAPINSKI@CARDINALH
                                           EALTH.COM
   19   STRYKER FINANCE                    CONTACT: ROBERT S         TRADE VENDOR                                                                            $15,491.03
        25652 NETWORK PLACE                FLETCHER, VP/CLO
        CHICAGO, IL 60673-1256             PHONE: 888-872-5855
                                           FAX: 269-385-1062
   20   CLARENCE DAVIDS & COMPANY          CONTACT: ANDREW        TRADE VENDOR                                                                               $13,492.00
        22901 SOUTH RIDGELAND AVENUE       TOURLAS
        MATTESON, IL 60443                 FAX: 708-720-4200
                                           ANDY@CLARENCEDAVIDS.CO
                                           M
   21   ILLINOIS DEPT OF PUBLIC            CONTACT: NGOZI EZIKE,     TRADE VENDOR                                                                            $13,056.00
        525-535 WEST JEFFERSON STREET      DIRECTOR
        SPRINGFIELD, IL 62761              FAX: 217782-3987
                                           DPH.MAILUS@ILLINOIS.GOV
   22   BONCURA HEALTH SOLUTIONS           CONTACT: MARIA            TRADE VENDOR                                                                            $12,500.00
        1100 W 31ST STREET                 MCGOWN, EXECUTIVE
        SUITE 300                          DIRECTOR
        DOWNERS GROVE, IL 60515            PHONE: 630-545-7640
                                           MARIA.MCGOWAN@BONCU
                                           RA.COM
   23   JOHNSON CONTROLS                   CONTACT: MAURICIO         TRADE VENDOR                                                                            $11,714.25
        5757 N. GREEN BAY AVE.             MUSTRE
        P.O. BOX 591                       PHONE: 866-496-1999
        MILWAUKEE, WI 53201                FAX: 414524-3200
                                           BSNA-LEGAL-
                                           SUPPORT@JCI.COM
   24   GRAINGER INC                       PHONE: 847-535-1000       TRADE VENDOR                                                                            $11,620.99
        100 GRAINGER PKWY                  MARCIA.HECK@GRAINGER.C
        LAKE FOREST, IL 60045              OM
   25   HALLMARK HEALTHCARE SOLUTIONS      CONTACT: ISAAC ULLATIL,   TRADE VENDOR                                                                            $10,861.40
        200 MOTOR PARKWAY                  PRESIDENT/CEO
        SUITE D-26                         PHONE: 856-231-5340
        HAUPPAUGE, NY 11788                INFO@HALLMARKHEALTHCA
                                           REIT.COM
   26   ABBOTT LABORATORIES                CONTACT: ROBERT B FORD,   TRADE VENDOR                                                                            $10,048.49
        100 ABBOTT PARK ROAD               PRESIDENT/CEO
        ABBOTT PARK, IL 60064              PHONE: 224-667-6100
                                           EVONHELMS@KMKSC.COM
   27   S.B. FRIEDMAN & COMPANY            CONTACT: STEPHEN B        TRADE VENDOR                                                                              $9,956.25
        221 N. LA SALLE ST.                FRIEDMAN, PRESIDENT
        STE 820                            PHONE: 312-424-4250
        CHICAGO, IL 60601                  SBF@SBFRIEDMAN.COM;
                                           INFO@SBFRIEDMAN.COM;
                                           RBOSE@SBFRIEDMAN.COM




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                    Case 21-01805           Doc 1
                                           Filed 02/10/21 Entered 02/10/21 17:36:51 Desc Main
  Debtor: Mercy Hospital and Medical Center Document     Page 16 of 17Number (if known):
                                                                 Case
   Name of creditor and complete mailing   Name, telephone number,   Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                     professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                     services, and         or disputed     setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                           Total claim, if       Deduction          Unsecured claim
                                                                                                           partially secured     for value of
                                                                                                                                 collateral or
                                                                                                                                 setoff

   28   COOK MEDICAL INC.                  CONTACT: STEVE            TRADE VENDOR                                                                              $9,610.38
        22988 NETWORK PLACE                FERGUSON, CHAIRMAN
        CHICAGO, IL 60673-1229             PHONE: 800-457-4500
                                           FAX: 800-554-8335
                                           CUSTOMERSUPPORT@COOK
                                           MEDICAL.COM
   29   COMP HEALTH                        CONTACT: BRITANYEISELER   TRADE VENDOR                                                                              $9,447.75
        2900 CHARLEVOIX DR                 PHONE: 800-328-3021
        GRAND RAPIDS, MI 49546-7085
   30   BIOMERIEUX INC                     CONTACT: STEVE YOVA,    TRADE VENDOR                                                                                $8,424.75
        100 RODOLPHE STREET                ASST GEN COUNSEL
        DURHAM, NC 63150-0308              PHONE: 919-620-2209
                                           FAX: 800-432-9682
                                           STEVE.YOVA@BIOMERIEUX.C
                                           OM




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                 Case 21-01805                    Doc 1          Filed 02/10/21 Entered 02/10/21 17:36:51                       Desc Main
                                                                  Document     Page 17 of 17




 Fill in this information to identify the case:

 Debtor name         Mercy Hospital and Medical Center

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          2/10/2021                               X /s/ Carol L. Garikes Schneider
                                                                       Signature of individual signing on behalf of debtor

                                                                       Carol L. Garikes Schneider
                                                                       Printed name

                                                                       President and Chief Executive Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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